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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                                        Case No.
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                   v.                                       ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7
                                                        Defendant(s).
                                   8

                                   9

                                  10          I,                              , an active member in good standing of the bar of

                                  11                                          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing:                                    in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is                                   , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-

                                  16

                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL S ADDRESS OF RECORD

                                  18
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL S TELEPHONE # OF RECORD
                                  19

                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is:                      .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26          I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated:
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                   ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of                                         is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16

                                  17
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                  18

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                                       Updated 11/2021                                   2
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           Appellate Division of the Supreme Court
                    of the State of New York
                   First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                     Orin Samuel Snyder
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on January 27, 1987,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and      according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                             In Witness Whereof, I have hereunto set
                             my hand in the City of New York on
                             January 27, 2025.




                                       Clerk of the Court




CertID-00211090
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                  Supreme Court of the State of New York
                   Appellate Division, First Department

  DIANNE T. RENWICK                                                                 MARGARET SOWAH
     PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


SUSANNA MOLINA ROJAS                                                           DOUGLAS C. SULLIVAN
     CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                        Susanna Rojas
                                                        Clerk of the Court




Revised October 2020


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